        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA,

         v.                                           Case No. 1:21-cr-00582
    MICHAEL A. SUSSMANN,

                Defendant.


                 DEFENDANT’S RESPONSE TO SPECIAL COUNSEL’S
                   OBJECTIONS TO PROPOSED TRIAL EXHIBITS

        Defendant Michael A. Sussmann, by and through his counsel, hereby provides the

following response to the Special Counsel’s Objections to the Defendant’s Proposed Trial Exhibits

(hereinafter, “Special Counsel’s Objections”), ECF No. 119, and specifically the Special Counsel’s

request therein that the defense proffer a basis for admissibility for notes taken by Department of

Justice (“DOJ”) personnel at a March 6, 2017 briefing for the then-Acting Attorney General by

the Federal Bureau of Investigation (“FBI”) (“March 2017 Notes”).1

        In late March 2022, the Special Counsel produced extraordinarily significant Brady

material. See Brady v. Maryland, 373 U.S. 83 (1963). Specifically, the Special Counsel produced

handwritten notes of several participants at a meeting held in March 2017, at which senior

members of the FBI briefed DOJ’s Acting Attorney General about various aspects of the FBI’s



1
  The Special Counsel also requested that the defense “proffer a non-hearsay basis” for “multiple
pages of handwritten notes taken by an FBI Headquarters Special Agent concerning his work on
the investigation of the [Alfa Bank] allegations,” marked as Defense Exhibits 353, 370, and 410.
Special Couns.’s Objs. at 3-4. However, the defense notes that the Special Counsel included the
same notes on his own exhibit list. See Special Couns.’s Ex. 279. In any event, the defense marked
the notes for identification purposes. If or when it becomes necessary to offer the exhibits into
evidence, the defense will raise the issue with the Court and provide appropriate reasoning at that
time.


                                                1
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 2 of 11




investigation into potential Russian influence in the 2016 presidential election (“Russia

Investigations”). During that meeting—at which James Baker (FBI General Counsel), Bill

Priestap (Assistant Director of FBI’s Counterintelligence Division), and Trisha Anderson (FBI

National Security & Cyber Law Branch Deputy General Counsel), among others, were present—

Andrew McCabe (Deputy Director of FBI) described the FBI’s investigation of the Alfa Bank

allegations. Specifically, Mr. McCabe stated that the Alfa Bank allegations were provided to the

FBI by an attorney on behalf of his client.2

       This new information directly contradicts the Special Counsel’s core allegation in this case:

that Mr. Sussmann falsely told Mr. Baker that he was not meeting with Mr. Baker on behalf of any

client. Indeed, the Special Counsel has focused on a short text message that Mr. Sussmann sent

on Sunday, September 18, 2016 to Mr. Baker to set up a meeting for the following day. That text

message from Mr. Sussmann represents just one moment in time. One day later, Mr. Sussmann

had a thirty-minute meeting with Mr. Baker. Their meeting was not recorded; there are no notes

of the meeting; Mr. Baker did not write a report regarding the meeting; and no one else was present

for the meeting. Mr. Sussmann and Mr. Baker also had several phone conversations over the

course of that week, including on Wednesday, September 21 and on Thursday, September 22. As

was true of the September 19 meeting, Mr. Baker did not record those calls; he did not take notes

of those calls; and he did not write a report regarding those calls.




2
  The defense has requested that the Special Counsel search for any additional records that may
shed further light on the meeting and certain of those requests remain outstanding. To date, the
Special Counsel has represented that the only additional notes from attendees at the meeting that
he has identified do not reference whether or not Mr. Sussmann was acting on behalf of a client.
The absence in those notes of any reference to whether Mr. Sussmann was acting on behalf of a
client also raises questions regarding materiality of the charged conduct: if the on behalf of
information were truly material to the FBI’s investigation, presumably all note takers would have
written it down.


                                                  2
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 3 of 11




       And yet, at some point between September 18, 2016 and March 6, 2017, the FBI apparently

came to believe that Mr. Sussmann did have a client in connection with his meeting with Mr.

Baker, and that the Alfa allegations were provided “on behalf of his client.” The FBI could not

have come to that belief based on conversations they had with Mr. Sussmann after his phone calls

with Mr. Baker the week of September 19, 2016, because the FBI chose not to interview Mr.

Sussmann about the information he provided to Mr. Baker, and the FBI chose not to ask Mr.

Sussmann about or interview the cyber experts whom Mr. Sussmann identified as the source of

the information he shared with the FBI.

       Therefore, it is highly significant that, as of March 2017, when the FBI was asked to

provide DOJ leadership with a summary of the Alfa Bank investigation (which by that time had

concluded), the FBI at the highest levels described the Alfa Bank allegations as having come from

an “attorney . . . on behalf of his client,” see Ex. A, Tashina Gauhar Notes, at SCO-074100, or

from an attorney who had a client, but “d[id]/n[ot] say who [the] client was,” see Ex. B, Mary

McCord Notes, at SCO-074070. The significance of the March 2017 Notes is further underscored

by the fact that Mr. Baker, Mr. Priestap, and Ms. Anderson, all of whom are on the Special

Counsel’s witness list, attended that March 2017 meeting. To the extent the Special Counsel

argues, as the defense expects he will, that Mr. Baker’s recollection of the meeting has been

“refreshed” by Mr. Priestap’s notes, it is obvious that the Special Counsel’s failure to refresh Mr.

Baker’s recollection with the contradictory March 2017 Notes is relevant to Mr. Baker’s credibility

as well as the manner in which the Special Counsel has handled a critical witness.

       The defense intends to adduce evidence of this meeting at trial, including the March 2017

Notes taken by those in attendance. In his objections to Mr. Sussmann’s exhibits, the Special

Counsel questions whether a non-hearsay basis exists to admit the March 2017 Notes at trial and




                                                 3
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 4 of 11




also questions why Mr. Sussmann did not file a motion in limine regarding the March 2017 Notes.

This submission addresses those concerns.

                                            BACKGROUND

       According to materials produced to the defense on March 18, 2022, a meeting was held at

FBI Headquarters on March 6, 2017, a few months after Mr. Sussmann met with Mr. Baker. Notes

taken at this meeting appear to reflect that it was precipitated by a request from the then-Acting

Attorney General for a briefing on the FBI’s various Russia Investigations. Attendees included

high-ranking DOJ officials, such as Dana Boente (Acting Attorney General), Mary McCord

(Acting Assistant Attorney General), Tashina Gauhar (Associate Deputy Attorney General

(“DAG”) responsible for the Office of DAG’s national security portfolio), and Scott Schools

(Associate DAG), among others. See Ex. C, Calendar Invitation for the March 6, 2017 “Briefing

for the (A)DAG.” Attendees from the FBI included Mr. McCabe, Mr. Baker, Ms. Anderson, and

Mr. Priestap. See Ex. D, Scott Schools Notes, at SCO-074089.

       At the briefing, as related to the Alfa Bank investigation, Mr. McCabe appears to have

provided a general summary of the allegations that had been brought to the FBI. Most importantly,

notes from other participants at the meeting indicate that Mr. McCabe explained that the

allegations were brought to the FBI by an attorney “on behalf of his client,” see Ex. A, Tashina

Gauhar Notes, at SCO-074100 (emphasis added), but that the attorney “d[id]/n[ot] say who [the]

client was,” see Ex. B, Mary McCord Notes, at SCO-074070 (emphases added). There is no

indication whatsoever from any participants’ notes that Mr. Baker—or Mr. Priestep or Ms.

Anderson—refuted or corrected Mr. McCabe’s explanation. Such a statement—recorded by

multiple participants, made in the presence of Mr. Baker, Mr. Priestep, and Ms. Anderson, and




                                                4
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 5 of 11




regarding the FBI meeting that is the subject of the charge against Mr. Sussmann—is both

admissible and material to the defense.

                                          ARGUMENT

       Testimony from the March 6, 2017 meeting attendees, as well as the notes they took during

that meeting, are highly relevant and exculpatory. As to the March 2017 Notes, there are three

grounds on which they can be introduced at trial: first, as present sense impressions under Federal

Rule of Evidence 803(1); second, as recorded recollections under Federal Rule of Evidence

803(5)—as the Special Counsel has previously argued with respect to the meeting notes he intends

to offer, see Government’s Motions in Limine, ECF No. 61 at 7-10—and third, as extrinsic

impeachment evidence.

       As a preliminary matter, we address the Special Counsel’s suggestion that Mr. Sussmann

should have filed a motion in limine regarding the March 2017 Notes. The Special Counsel

neglects to mention that these handwritten notes were buried in nearly 22,000 pages of discovery

that the Special Counsel produced approximately two weeks before motions in limine were due.

Specifically, the Special Counsel produced the March 2017 Notes as part of a March 18, 2022

production. The Special Counsel included the March 2017 Notes in a sub-folder generically

labeled “FBI declassified” and similarly labeled them only as “FBI/DOJ Declassified Documents”

in his cover letter. See Letter from J. Durham to M. Bosworth and S. Berkowitz (Mar. 18, 2022).

And although the Special Counsel indicated on a phone call of March 18, 2022 that some of the

22,000 pages were documents that made references to “client,” he did not specifically identify the

March 2017 Notes or otherwise call to attention to this powerful exculpatory material in the way

that Brady and its progeny requires. See United States v. Hsia, 24 F. Supp. 2d 14, 29-30 (D.D.C.

1998) (“The government cannot meet its Brady obligations by providing [defendant] with access




                                                5
          Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 6 of 11




to 600,000 documents and then claiming that she should have been able to find the exculpatory

information in the haystack. To the extent that the government knows of any documents or

statements that constitute Brady material, it must identify that material to [defendant].”); United

States v. Saffarinia, 424 F. Supp. 3d 46, 86 (D.D.C. 2020) (“[T]he government’s Brady obligations

require it to identify any known Brady material to the extent that the government knows of any

such material in its production of approximately 3.5 million pages of documents.”). All this aside,

the Special Counsel has also failed to explain why this powerful Brady material was produced

years into their investigation, six months after Mr. Sussmann was indicted, and only weeks before

trial.3   Had the material been timely produced, Mr. Sussmann surely would have filed an

appropriate motion in limine on the timeline for such motions.

          That timing issue aside, the March 2017 Notes are clearly relevant, admissible, and indeed

essential to Mr. Sussmann’s case.

          First, the defense anticipates that the note-takers’ testimony will satisfy the requirements

of Federal Rule of Evidence 803(1), which provides that “statement[s] describing or explaining an

event or condition, made while or immediately after the declarant perceived it” are not excluded

by the rule against hearsay. Here, although the note-takers do not have a strong recollection of the

substance of the meeting apart from the information they recorded, the defense anticipates that

they will testify to contemporaneously writing down what they observed and heard during the

meeting and will testify as to the accuracy of their notes. With that foundation, the March 2017

Notes are thus admissible as present sense impressions. See Cargill, Inc. v. Boag Cold Storage




3
  In addition, the March 2017 Notes were produced over one month after the February 11, 2022
deadline for classified and declassified discovery, although they do not appear to fall within any
of the categories of discovery for which the Special Counsel sought, and was granted, an extension
to produce certain documents. See ECF No. 33, at 13-18.


                                                   6
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 7 of 11




Warehouse, Inc., 71 F.3d 545, 555 (6th Cir. 1995) (finding notes admissible as present sense

impressions where a witness testified that he took notes of events as they occurred and that there

was “little ‘likelihood of deliberate or conscious misrepresentation’” (citation omitted)); Grayson

v. Ressler & Ressler, No. 15 Civ. 8740 (ER), 2018 WL 3611951, at *6 (S.D.N.Y. July 27, 2018)

(noting that if a witness took contemporaneous notes, such statements could qualify under the

present sense impression exception to the hearsay rule); United States v. Ferber, 966 F. Supp. 90,

97 (D. Mass. 1997) (notes describing statements of others were admissible under the present sense

impression exception).

       Second, the defense anticipates that the note-takers’ testimony will also establish the

necessary requirements for reading their notes into the record under Federal Rule of Evidence

803(5). Handwritten notes fall into the “recorded recollection” exception to the rule against

hearsay if the notes (A) are on a matter the witness once knew about but now cannot recall well

enough to testify fully and accurately; (B) were made or adopted by the witness when the matter

was fresh in the witness’s memory; and (C) accurately reflect the witness’s knowledge. Fed. R.

Evid. 803(5). The defense expects Mr. Schools, Ms. McCord, and Ms. Gauhar to testify that they

do not, independently from their notes, remember many details about the March 6, 2017 meeting

and thus cannot recall the meeting well enough to testify about it fully and accurately. The defense

further expects the witnesses to testify that they took the notes during the meeting (i.e.,

contemporaneously and while it was fresh in their memory) and that the March 2017 Notes

accurately reflect their knowledge at the time. Assuming the defense is able to lay these

foundations with these witnesses, their notes would be admissible as recorded recollections. See,

e.g., Moon v. Kwon, 248 F. Supp. 2d 201, 210 n.5 (S.D.N.Y. 2002) (contemporaneous handwritten

notes summarizing work day admissible pursuant to Fed. R. Evid. 803(5)); see also Opinion &




                                                 7
        Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 8 of 11




Order at 19, ECF No. 121 (indicating that notes can be read into the record as past recollection

recorded if the note-taker’s testimony satisfies the requirements of Rule 803(5)).

        Under either hearsay exception, and to the extent the March 2017 Notes reflect statements

made by Mr. McCabe, the defense does not intend to introduce such statements for their truth (i.e.,

that Mr. Sussmann in fact brought the Alfa Bank allegations to Mr. Baker on behalf of a client).

Rather, the defense intends to offer the statements as evidence of the awareness and state of mind

of the FBI, Mr. Baker, and other FBI personnel regarding the origins of the Alfa Bank allegations.

Such evidence is plainly relevant to show Mr. Baker’s state of mind, the FBI’s understanding of

the information provided, and the lack of materiality of the alleged false statement.

        Because the statements in the March 2017 Notes are not being offered for the truth of the

matters asserted therein, they are not hearsay. See Fed. R. Evid. 801(c)(2) (defining hearsay as an

out-of-court statement offered “to prove the truth of the matter asserted in the statement”); see also

Advisory Committee Notes to Rule 801(c) (“If the significance of an offered statement lies solely

in the fact that it was made, no issue is raised as to the truth of anything asserted, and the statement

is not hearsay.”); Devany v. United Parcel Serv., Inc., No. 18 Civ. 6684 (PGG), 2021 WL 4481911,

at *4 n.10 (S.D.N.Y. Sept. 30, 2021) (notes admissible where offered not for their truth but instead

“to demonstrate what was said” to another party).

        Third, the defense anticipates that the March 2017 Notes will be admissible as

impeachment evidence. Specifically, over a period of several years, Mr. Baker has offered

inconsistent testimony regarding what Mr. Sussmann told him in their September 19, 2016

meeting. First, Mr. Baker stated he did not remember whether Mr. Sussmann specifically

mentioned whether he was acting on behalf of a client. See J. Baker Oct. 18, 2018 Jt. Com. Test.

Tr. at 122 (Oct. 18, 2018).       Subsequently, Mr. Baker stated that Mr. Sussmann provided




                                                   8
         Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 9 of 11




information about what “some number of people that were his clients, . . . sort of cyber-security

experts, had found.” See J. Baker July 15, 2019 Interview with DOJ OIG at SCO-3500U-009243

(emphasis added). Later still, Mr. Baker asserted that Mr. Sussmann did not specify whether he

was representing a client, and Mr. Baker never asked. Mem. of Special Couns.’s June 11, 2020

Interview of J. Baker at SCO-3500U-009270. Only after having his recollection purportedly

refreshed with notes from Mr. Priestap nearly four years after the fact did Mr. Baker decide that

Mr. Sussmann told him that he was not acting on a behalf a client, a fact that Mr. Baker concluded

he “must have told” Mr. Priestap if the notes reflected that information. See Mem. of Special

Couns.’s June 18, 2020 Interview of J. Baker at SCO-3500U-009301.

        But the March 2017 Notes reveal that Mr. Baker was silent when Mr. McCabe stated that

Mr. Sussmann brought the allegations to the FBI on behalf of a client. If Mr. Baker had disagreed

with Mr. McCabe on such a purportedly important statement, presumably he would have made

that known. And the same can be said for Mr. Priestap and Ms. Anderson. Cf. United States v.

Stock, 948 F.2d 1299, 1301 (D.C. Cir. 1991) (“Prior statements that omit details covered at trial

are inconsistent if it would have been ‘natural’ for the witness to include them in the earlier

statement.” (citation omitted)); United States v. Williams, 740 F. Supp. 2d 10, 11-12 (D.D.C. 2010)

(“A prior inconsistent statement can take the form of either an affirmative statement or an

omission.”); United States v. Rogers, 549 F.2d 490, 496 (8th Cir. 1976) (“A statement’s

inconsistency may be determined from the circumstances and is not limited to cases in which

diametrically opposite assertions have been made. Thus, inconsistencies . . . may be implied

through silence . . . .”).




                                                9
       Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 10 of 11




       Furthermore, in this situation is it appropriate to adduce this impeachment material as proof

as Mr. Baker’s prior inconsistent statement.4 See Fed. R. Evid. 613(b) (“Extrinsic evidence of a

witness’s prior inconsistent statement” is admissible if “the witness is given an opportunity to

explain or deny the statement and an adverse party is given an opportunity to examine the witness

about it, or if justice so requires.”); see also Athridge v. Aetna Cas. & Sur. Co., 474 F. Supp. 2d

102, 111 (D.D.C. 2007) (extrinsic evidence of prior inconsistent statement admissible under

Federal Rule of Evidence 613(b)).

       In addition, as noted above, the Special Counsel apparently intends to elicit testimony

suggesting that Mr. Baker landed on his latest version of events after reviewing notes from a

separate meeting, taken by Mr. Priestap and provided to Mr. Baker by the Special Counsel.

However, the Special Counsel conspicuously did not show Mr. Baker the March 2017 Notes when

attempting to refresh his recollection. The March 2017 Notes are thus also admissible to attack

the Special Counsel’s prejudicial handling of a critical witness, as well as Mr. Baker’s current

recollection of events. See United States v. Fieger, No. 07-CR- 20414, 2008 WL 996401, at *2-3

(E.D. Mich. Apr. 8, 2008) (defendants permitted to “bring in the factual scenario” of the

government’s investigation, including by “asking witnesses about the circumstances surrounding

their questioning by Government agents”).

       The March 2017 Notes are admissible pursuant to any of the above mechanisms. The

Special Counsel’s objection should be overruled.




4
  In its Opinion and Order regarding the Special Counsel’s intention to offer notes from Mr.
Priestap and Ms. Anderson as evidence of Mr. Baker’s prior consistent statements, the Court
explained that because “the notes are not Mr. Baker’s,” he “cannot testify to their contents.” ECF
No. 121 at 19. As relevant here, the defense intends to question Mr. Baker about what he said or
did not say during the March 6, 2017 meeting, but intends to offer the March 2017 Notes only
through the testimony of the note-takers.

                                                10
      Case 1:21-cr-00582-CRC Document 123 Filed 05/08/22 Page 11 of 11




Dated: May 8, 2022                    Respectfully submitted,


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